                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

MARK EDWARD SALYER,                            )
                                               )
              Petitioner,                      )
                                               )
v.                                             )   Nos. 2: 11-CR-04-JRG
                                               )        2: 13-CV-113
UNITED STATES OF AMERICA,                      )
                                               )
              Respondent.                      )

                                   NOTICE OF APPEAL

       COMES Petitioner, Mark Edward Salyer, appearing pro se, and timely files his Notice of

Appeal of the June 28, 2016 Memorandum and Order and Judgment denying his Motion under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody.

                                                   Respectfully submitted,




                                                   MARK EDWARD SALYER
                                                   Reg. No. 43560-074
                                                   FCIBECKLEY
                                                   FEDERAL CORR. INSTITUTION
                                                   P. 0. BOX350
                                                   BEAVER, WV 25813
                                                   Petitioner appearing pro se
